Case 1:09-cr-20523-TLL-PTM ECF No. 86, PageID.371 Filed 07/15/10 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                          Case Number 09-20523-BC
                                                            Honorable Thomas L. Ludington
D-3 CORY ANN CORLEW,

            Defendant.
_____________________________________/


     ORDER DENYING AS MOOT DEFENDANT CORY CORLEW’S MOTION TO
                       SUPPRESS STATEMENTS

        On February 24, 2010, a seven-count first superseding indictment [Dkt. # 59] was filed

against Defendants Rocky Corlew, Michael Szemites, and Cory Corlew. The indictment charges

Defendants with, inter alia, conspiring to violate 21 U.S.C. § 841(a)(1) by manufacturing 1000 or

more marijuana plants, and to possess with intent to distribute and to distribute 100 kilograms or

more of marijuana in violation of 21 U.S.C. § 846, from the spring of 2008 to at least October 13,

2009.

        Now before the Court is Ms. Corlew’s motion to suppress statement [Dkt. # 74] filed on May

24, 2010. On July 12, 2010, the Court commenced a hearing on several of Defendants’ pending

motions to suppress [Dkt. # 30, 31, 38, 74]. While the hearing primarily addressed Defendants’

motions to suppress directed at the search and seizure of evidence found at a residence and on its

curtilage, the Court briefly addressed Ms. Corlew’s motion to suppress her statements made to law

enforcement [Dkt. # 74]. At hearing, Ms. Corlew’s attorney clarified that Ms. Corlew is only

challenging the admissibility of statements made on the date of the search, October 13, 2009, and

not statements later made via telephone on October 23, 2009. Notably, the government asserts that
Case 1:09-cr-20523-TLL-PTM ECF No. 86, PageID.372 Filed 07/15/10 Page 2 of 2




it does not intend to introduce into evidence at trial any of Ms. Corlew’s statements made on

October 13, 2009. See [Dkt. # 80, June 14, 2010].

       Accordingly, it is ORDERED that Ms. Corlew’s motion to suppress statement [Dkt. # 74]

is DENIED AS MOOT.


                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge

Dated: July 15, 2010

                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on July 15, 2010.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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